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           EXHIBIT 7
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                       From: Saori Casey <                     >
                     Subject: Q1 Internal Range
                Received(Date): Thu, 1 Nov 2018 09:45:34 -0700
                          Cc: Ai Ling Loo <                        >,Jessie Zhang
                                <                        >,Jason Malat <                 >
                          To: Tim Cook <                    >,Luca Maestri <                  >,Jeff
                                Williams <                     >,Donal Conroy
                                <                         >,Kevan Parekh <                   >,Larry
                                McDevitt <                     >
                 Attachment: PastedGraphic-8.pdf
                        Date: Thu, 01 Nov 2018 09:45:34 -0700

               Some adjustments made:
               - new internal low is the previous low less -2M XR
               - retail safety stock revenue upside ($250M) added only to the Internal low case as the
               contingency plan
               - GM % level adjusted to align to our internal goals

               Column N: previous Low iPhone (-2M XR), Hybrid Rest => Internal Low $88.8B
               Column P: previous Low iPhone, Likely Rest => Likely $90.7B (final bottoms up to be
               run as the Likely forecast for comparison)
               Column J: previous Likely => Internal High $93.4B

               Thanks,
               Saori

               > On Nov 1, 2018, at 8:28 AM, Saori Casey <                       > wrote:
               >
               > Just received a final update on Q1 First Call update (Mizuho removed) going into the
               earnings cll. Revenue is up $104M and EPS +$0.01.
               >
               > Our high revenue guidance is the same but EPS falls short $0.15 due to 10bps short
               on GM% (-$0.01) and the remaining $0.14 from some combination of higher opex, tax
               rate and share count.
               > Against the Comprehensive Analysts EPS (column A), we are $0.09 away comprising
               of -$0.01 GM, -$0.02 Opex, -$0.04 tax rate, and -$0.02 share count
               >
               > For our internal scenarios, based on yesterday's discussion, I’m thinking the following
               re-assignment of the forecast classification:
               >
               > Column N: Low iPhone, Hybrid Rest => Internal Low $88.2B
               > Column P: Low iPhone, Likely Rest => Likely $90.9B (we’ll run a final bottoms up on
               these volumes and compare against this for the rest of the quarter as the beginning of
               the quarter Likely forecast)
               > Column J: Likely => Internal High $93.6B




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               >
               > Please let me know if you’d rather use a different scenario as the forecast comparison,
               and we’ll run the final bottoms up accordingly.
               >
               > Thanks,
               > Saori
               >
               >
               > <PastedGraphic-5.pdf>
               >
               >
               >> On Nov 1, 2018, at 7:35 AM, Saori Casey <
               <                            >> wrote:
               >>
               >> These are based on the consensus from 10/30. If I get an update today with a
               material change this morning, I will send an update.
               >>
               >> <PastedGraphic-3.pdf>
               >>
               >> <PastedGraphic-4.pdf>
               >>
               >>> On Nov 1, 2018, at 6:33 AM, Tim Cook <
               <                           >> wrote:
               >>>
               >>> Please send me Q4 results vs consensus and Q1 guidance vs consensus. >>>
               >>> Tim
               >>>
               >>> Sent from my iPad Pro
               >>
               >




               Some adjustments made:

               - new internal low is the previous low less -2M XR

               - retail safety stock revenue upside ($250M) added only to the Internal low case as the
               contingency plan

               - GM % level adjusted to align to our internal goals

               Column N: previous Low iPhone (-2M XR), Hybrid Rest => Internal Low $88.8B

               Column P: previous Low iPhone, Likely Rest => Likely $90.7B (final bottoms up to be run
               as the Likely forecast for comparison)




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               Column J: previous Likely => Internal High $93.4B


               Thanks,

               Saori

               On Nov 1, 2018, at 8:28 AM, Saori Casey <                       > wrote:

               Just received a final update on Q1 First Call update (Mizuho removed) going into the earnings
               cll. Revenue is up $104M and EPS +$0.01.

               Our high revenue guidance is the same but EPS falls short $0.15 due to 10bps short on GM% (-
               $0.01) and the remaining $0.14 from some combination of higher opex, tax rate and share count.

               Against the Comprehensive Analysts EPS (column A), we are $0.09 away comprising of -$0.01
               GM, -$0.02 Opex, -$0.04 tax rate, and -$0.02 share count

               For our internal scenarios, based on yesterday's discussion, I’m thinking the following re-
               assignment of the forecast classification:

               Column N: Low iPhone, Hybrid Rest => Internal Low $88.2B

               Column P: Low iPhone, Likely Rest => Likely $90.9B (we’ll run a final bottoms up on these
               volumes and compare against this for the rest of the quarter as the beginning of the quarter
               Likely forecast)

               Column J: Likely => Internal High $93.6B

               Please let me know if you’d rather use a different scenario as the forecast comparison, and we’ll
               run the final bottoms up accordingly.

               Thanks,

               Saori

               <PastedGraphic-5.pdf>

                On Nov 1, 2018, at 7:35 AM, Saori Casey <                       > wrote:

                These are based on the consensus from 10/30. If I get an update today with a material change
                this morning, I will send an update.

                <PastedGraphic-3.pdf>

                <PastedGraphic-4.pdf>




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                On Nov 1, 2018, at 6:33 AM, Tim Cook <                   > wrote:

                Please send me Q4 results vs consensus and Q1 guidance vs consensus.

                Tim

                Sent from my iPad Pro




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                  Q1'19 P&L Dashboard                                                                                                         GM $ challenge=> $               (340)                   $         (650)                  $         (505)                    $          (645)
                  Scenarios 11/1 v2 (w/GAAP Product/Services change est)         A              B              C              D               E             I              J                K                L               M                N                 O                 P                Q
                                                                                                                                                                 Q1'19
                                        ASP restated to GAAP                    11/1          Guidance Range Placeholder                                  10/23          11/1                              11/1                              11/1                               11/1

                                                                             Consensus                                                    Column D                             Column J    Likely   Column L                                          Column N                          Column P
                                                                            (ASP restated                                                    vs.                                  vs.   iPhone, Low    vs.                                  Internal     vs.                               vs.
            Row $M, Sell In K units      Q1'18        Q4'18       First Call to GAAP)         Low           Mid Point       High          Consensus Oct Fcst v2 Internal High Consensus     Rest    Consensus                                 Low     Consensus                Likely   Consensus
               1 iPhone units              77,316      46,890                    77,454        70,000          71,500        73,000           (4,454)      76,568         73,074            (4,380)         70,567           (6,887)           68,567     (8,887)                70,567    (6,887)
               2                 YoY          -1%          0%                           0%           -9%            -8%            -6%                           -1%            -5%                               -9%                               -11%                               -9%
               3           Sequential         66%         14%                          65%           49%            52%            56%                           63%            56%                               50%                               46%                                50%
               4                 ASP          790         784                          803            813            819            824            22            835            825               22               815            13                  816            13                 815             13
               5 Mac units                  5,112       5,299                     4,946         5,400           5,500         5,600               654       5,592           5,755               809          5,446               500           5,456                510           5,755                809
               6                 YoY          -5%          -2%                         -3%            6%             8%            10%                             9%            13%                               7%                               7%                                  13%
               7           Sequential         -5%          42%                         -7%            2%             4%             6%                             6%             9%                               3%                               3%                                   9%
               8                 ASP        1,335        1,385                       1,400          1,426          1,428          1,430            30           1,424          1,419            20               1,428           28               1,440            40                  1,419          20
               9 iPad units               13,170        9,699                    13,282        14,300          14,500        14,700            1,418       14,276         14,773            1,491           14,319            1,037           14,546            1,264            14,773            1,491
              10                 YoY           1%          -6%                          1%            9%            10%            12%                            8%            12%                                9%                               10%                                12%
              11           Sequential         28%         -16%                         37%           47%            49%            52%                           47%            52%                               48%                               50%                                52%
              12                 ASP          437          411                         431            454            454            454            23            450            454              23                454            23                464             33                  454            23
              17 Watch units               6,919        3,448                     6,968         8,400           8,600         8,800           1,832         8,736          8,883             1,915           8,481             1,513           8,682             1,714            8,883             1,915
              18                 YoY          58%          39%                         1%            21%            24%            27%                           26%            28%                               23%                              25%                                  28%
              19           Sequential        179%          -8%                       102%           144%           149%           155%                          153%           158%                              146%                             152%                                 158%
              20                 ASP           347          368                        434            407            405            403            -31            406            402             -33               406           (29)               419             (15)                 402           (33)

             21 Revenue (M$)            $88,293      $62,900      $ 93,015    $92,820        $89,000        $91,000        $93,000        $       180    $96,553        $93,423         $       603    $89,760           $   (3,060)        $88,813         $   (4,007)        $90,678         $   (2,142)
             22               YoY            13%          20%           5%           5.1%             1%             3%             5%                          9.4%             6%                                2%                                1%                                 3%
             23          Sequential          68%           18%                        48%            41%            45%            48%                           54%            49%                               43%                               41%                                44%
             28 Gross Margin             $33,913      $24,085                  $35,829        $33,820        $34,808        $35,805 $             (24)    $37,324        $35,781 $              (48)       $34,375                           $33,743                            $34,730
             29         % revenue         38.4%        38.3%        38.6%        38.6%         38.0%         38.25%          38.5%            -0.10%       38.7%          38.3%              -0.3%          38.3%              -0.3%          38.0%              -0.6%           38.3%              -0.3%
             30 OpEx                      $7,638       $7,965                    $8,539        $8,800          $8,750        $8,700 $            161       $8,824         $8,824        $     285          $8,824 $             285          $8,824 $             285            $8,824        $     285
             31          % of revenue        8.7%        12.7%                       9.2%           9.9%           9.6%           9.4%                           9.1%           9.4%                             9.8%                               9.9%                               9.7%
             32                  YoY          12%          17%                         12%           15%            15%            14%                           16%            16%                               16%                               16%                                 16%
             34 Op Mrgn                  $26,275      $16,120                   $27,289       $25,020        $26,058        $27,105                       $28,500        $26,957 $            (332)        $25,551 $         (1,738)         $24,919 $          (2,370)         $25,906 $ (1,383)
             35 OpMrgn %                   29.8%        25.6%       29.5%         29.4%         28.1%          28.6%         29.1%             -0.3%        29.5%          28.9%             -0.5%           28.5%            -0.9%            28.1%              -1.3%           28.6%    -0.8%
             36                  YoY          12%          23%                         4%            -5%            -1%             3%                            8%             3%                               -3%                               -5%                                 -1%
             37 OI&E                       $756         $303                      $300          $300           $300           $300                           $375           $375                             $375                              $375                               $375
             38 Tax                       $6,965       $2,296                    $4,359        $4,178         $4,349         $4,522                        $4,764          $4,510                           $4,278                            $4,174                             $4,336
             39              Tax rate       25.8%        14.0%                       15.8%          16.5%          16.5%          16.5%                         16.5%          16.5%                             16.5%                            16.5%                               16.5%
             40 Net Income               $20,066      $14,127                  $23,230        $21,142        $22,009        $22,883 $          (347)      $24,111        $22,822        $    (408)         $21,648 $         (1,582)         $21,121 $          (2,109)         $21,945        $   (1,285)
             41         % of revenue          23%          22%                        25%            24%            24%            25%                           25%             24%                              24%                              24%                                  24%
             42                  YoY          12%          32%                        16%             5%            10%            14%                           20%             14%                               8%                               5%                                   9%
             43 Shares                       5,158        4,848                      4,750          4,771          4,771          4,771                         4,771           4,771                            4,771                            4,771                                4,771
             44       Diluted EPS          $3.89        $2.91        $4.95        $4.89          $4.43          $4.61          $4.80          -$0.09         $5.05          $4.78            -$0.11          $4.54            -$0.35            $4.43           -$0.46             $4.60           -$0.29
             45                  YoY          16%          41%                         26%           14%            19%            23%                         30%            23%                               17%                               14%                                18%
             53 iPhone ST Units            73,139       45,313                                                                                              72,335         69,564                            66,274                            64,274                             66,274
             54 iPhone UB                  71,289       45,246                                                                                              70,664         67,893                            64,603                            63,186                             64,603
             54 EOH change                  4,177        1,577                                                                                               4,233          3,510                             4,293                             2,984                              4,293
             55 Fwd Wks                        5.8          3.8                                                                                                 4.3            6.1                               7.1                               7.1                                7.1
             56 XR - SI                    72,660                                               22,300          24,350        26,400                        32,164         26,400                            22,300                            20,300                             22,300
             57 XR - ST                    72,660                                               15,797           17,597       19,397                        23,430         19,397                            15,797                            14,380                             15,797
             57 XR - UB                     4,748                                               14,600          16,400        18,200                        22,233         18,200                            14,600                            13,291                             14,600
                  Revenue $M (post GAAP change est)                     Y/Y                                                                       Y/Y                                           Y/Y                              Y/Y                                Y/Y                                Y/Y
             46 iPhone               $61,103   $36,755                 29%      $62,178       $56,924        $58,556        $60,188               -1%     $63,945        $60,277                -1%        $57,532               -6%         $55,956                -8%         $57,532                -6%
             47 Mac                   $6,824    $7,340                  3%       $6,923        $7,699         $7,853         $8,007               17%      $7,963         $8,168                20%         $7,775               14%          $7,857                15%          $8,168                20%
             48 iPad                  $5,755    $3,983                -15%       $5,725        $6,494         $6,587         $6,679               16%      $6,428         $6,703                16%         $6,500               13%          $6,753                17%          $6,703                16%
             49    Watch                   $2,400       $1,268        47%         $3,026        $3,418          $3,482        $3,546              48%       $3,544         $3,569               49%          $3,441              43%           $3,638               52%           $3,569               49%
             50    W/H/A (ex Watch)        $3,081       $2,955        25%         $3,645        $3,854          $3,915        $3,975              29%       $3,919         $3,995               30%          $3,882              26%           $3,929               28%           $3,975               29%
             51 Wrbls/Home/Accy           $5,481       $4,223         31%       $6,672          $7,273         $7,397         $7,521              37%       $7,463         $7,564               38%         $7,323             34%            $7,567                38%           $7,544             38%
             52 Total Products            79,163       52,301         20%       81,498         78,390         80,392         82,395                4%      85,798          82,712                4%         79,130              0%           78,133                 -1%          79,947               1%
             53 Services                  $9,129      $10,599         16%      $11,286         $10,611       $10,661        $10,711               17%     $10,755         $10,711               17%        $10,611             16%          $10,661                 17%          $10,711             17%
             55 Total Revenue            $88,292      $62,900         20%      $92,784        $89,001        $91,054        $93,106                5%     $96,553        $93,424                 6%        $89,741              2%          $88,794                  1%         $90,659               3%
                  Revenue Mix                                                                                                                                                                                                vs likey                           vs low
                  Non-iPh Prod only      $18,060                                                                                                          $21,854        $22,435                24%        $21,598            ($837)          $22,177            $579            $22,415
                  Non iPh- all           $27,189                                                                                                          $32,608        $33,147                22%        $32,210            ($937)         $32,838             $629           $33,127
           Q1-19 P&L 11-1 v2.xlsx                                                                                            Apple Confidential - Need to Know                                                                                                                                  11/1/18 9:39 AM



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